AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Missouri

STACY ARNOLD

 

Plaintiff(s)

Vv. Civil Action No.

CITY OF ST. JOSEPH,
ST. JOSEPH PUBLIC LIBRARY,
OFFICER REBECCA HAILEY (in her personal
and prefessional capacity) and ROGER CLARY

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CITY OF ST. JOSEPH
1100 Frederick Avenue
St. Joseph, Missouri 64501

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Stacy Arnold
500 Westover Dr #11589
Sanford, NC 27330

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

 

 

Dat: o-l-14 the @ conor es

Signature of Clerk or/Deputy Clerk VU

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any) < ry Of ST Lose PY
was received by me on (date) 19-5) 2?

(1 I personally served the summons on the individual at (place)

 

on (date) > Or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

 

28 I served the summons on (name of individual) BRIA CONTE, CTY A. yropwes .who is

 

 

designated by law to accept service of process on behalf of (name of organization) Orv oF
S7 > BESCP TA on (date) J1-9-/)9 3 or
# FT TG
C1 I returned the summons unexecuted because 5 or

 

1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 11-97-71? C.. Me kip fz

Server's sighffure

C. MICH BCL POHL = PRIVOTC PROCESS SCRVELR

Printed name and title

SORID St? UNRITSO KY, See ANITVILLE WO. 6 497

Server’s address

Additional information regarding attempted service, etc:

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